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 3
 4                        IN THE UNITED STATES DISTRICT COURT
 5                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     UNITED STATES OF AMERICA,                 )
 7                                             )    2:10-cr-00444-GEB
                       Plaintiff,              )
 8                                             )
                 v.                            )    ORDER UNSEALING DOCKET ENTRY
 9                                             )    NO. 72
     KERRY SEAMAN,                             )
10                                             )
                   Defendant.                  )
11   ________________________________          )
12
13                In light of an inquiry received by the Courtroom Deputy for

14   the undersigned judge concerning three documents filed under seal on

15   January 8, 2013, the decision regarding the sealing of the order filed

16   on this date as docket entry number 72 is reconsidered. Since sufficient

17   justification has not been provided justifying sealing this order,

18   docket entry number 72 shall be unsealed and filed on the public docket.

19   Dated:    January 9, 2013
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21                                       GARLAND E. BURRELL, JR.
                                         Senior United States District Judge
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